Case 7:19-cr-00549-VB Document 68

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Vv.

LORENZO MCKOY,
Defendant.

 

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ORDER

19 CR 549-2 (VB)

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A status conference in this case is scheduled for November 13, 2020, at 11:00 a.m. This

proceeding will be conducted in person at the Courthouse.

Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY

courthouse must complete a questionnaire and have his or her temperature taken, The

questionnaire is located on the Court’s website at:

https://Avww.nysd.uscourts. gov/sites/default/files/2020-

0O/SDNY%20COVID%20ENTRY%20QUESTIONNAIRE%20GUIDE%209-2-2020.pdf,

Completing the questionnaire online and ahead of time will save time and effort upon entry.

Only those individuals who meet the entry requirements established by the questionnaire will be

permitted entry. Please contact Chambers if you do not meet the requirements.

Dated: November 9, 2020
White Plains, NY

SO ORDERED:

Vu

 

Vincent L. Briccetti
United States District Judge
